
On November 15, 1963, the court rendered an opinion, amended April 17 and April 24, 1964,-163 Ct. Cl. 167, 324 F. 2d 966, 330 F. 2d 986, holding that the plaintiffs were en*687titled to recover and entering judgment to that effect. The determination of the amount of recovery was reserved for further proceedings under Eule 38 (c) (now Eule 47 (c) (2)). On August 13, 1965, the Trial Commissioner filed a memorandum report recommending that on the basis of stipulations filed on August 12, 1965, and in accordance with the opinion of the court, judgment be entered for the plaintiffs whose names appear below in the amounts shown. On September 2, 1965, the court ordered that judgment be entered as follows:
Estate of Elwyn S. Gibson (No. 3)_$1,432.20
Ralph R. Lashbrook (No. 4)_ 1,974.94
M. F. Warner (No. 12)_ 4,434.93
